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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA
                                                           Criminal Action No. 08-779 (PGS)
                    v.

ANTOINE DOBSON and LARRY                                                   ORDER
LANGFORDDAVIS,

                                Defendants


        This matter having come before the Court on omnibus motions by Defendants, Antoine

Dobson and Larry Langforddavis, and on cross-motion by the Government for reciprocal

discovery pursuant to Fed. R. Crim. P. 16; and the Court having reviewed the submissions by the

parties, and having heard oral argument; and defendant Dobson having withdrawn his motion to

suppress the search of his home and statements made by him after the arrest of Langforddavis;

for the reasons set forth on the record, and for good cause shown,

        IT IS, on this 29 day of May, 2009,

        ORDERED that Defendants’ motions to be provided with the grand jury transcripts in

this matter are denied; and it is further

        ORDERED that Defendants’ motions to be provided with the names of cooperating

witnesses, including the confidential informant, are denied; and it is further

       ORDERED that Defendants’ motions for joinder of the trials are denied; and it is further

       ORDERED that Defendant Dobson’s motions to suppress are denied as moot based upon

counsel’s withdrawal at oral argument; and it is further

       ORDERED that Defendant Langforddavis’s motion to suppress is denied; and it is further

       ORDERED that Defendant Langforddavis’s motion to bifurcate the trial so as to sever

Langforddavis’s criminal history from the other elements of the offense is denied; and it is
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further

          ORDERED that Defendant Dobson’s motion to preclude presentation of evidence of

Langforddavis’s September 1, 2007 arrest by the Fanwood Police Department at Dobson’s trial is

denied; and it is further

          ORDERED that the motion as to the potential relevancy of presentation of evidence as to

the Triple F club or FFF at trial is denied; and it is further

          ORDERED that the Court reserves decision as to the requested Mason instruction; and it

is further

          ORDERED that the Court reserves decision as to Defendants’ motions to strike

surplussage from the Dobson indictment pursuant to Fed. R. Crim. P. 7(d); and it is further

          ORDERED that the Government’s motion for reciprocal discovery is granted;

          ORDERED that Defendant Langforddavis’s motion to be provided by the Government

with copies of the signed police reports is granted; and it is further

          ORDERED that the Government is to preserve all rough notes of investigators pursuant

to the Jencks Act for potential in camera inspection at trial; and it is further

          ORDERED that Defendants’ motions to be provided with “other crimes” evidence to be

presented by the Government pursuant to Fed. R. Evid. 404(b) is granted. The Government shall

provide such information 10 days in advance of trial, or by motion thereafter; and it is further

          ORDERED that the remained of the Defendants motions are denied as moot pursuant to

the pretrial order dated March 26, 2009.




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May 29. 2009
                                                       PETER G. SHERIDAN, U.S.D.J.
